Case 2:20-cv-09582-JFW-E Document 79-2 Filed 05/24/21 Page 1 of 4 Page ID #:1543




                   EXHIBIT A




                                  EXHIBIT A
                                     -9-
Case 2:20-cv-09582-JFW-E Document 79-2 Filed 05/24/21 Page 2 of 4 Page ID #:1544




  From:               Satterfield , John L
  Sent:               Wednesday, February 26, 2020 9:19 PM PST
  To:                 Burcher, John P.
  Subject:            Fwd: LA Times follow up re Lost Hills



  John Satterfield, Ed.D
  Deputy Sheriff (Lieutenant)
  Los Angeles County Sheriffs Department
  Sheriffs Information Bureau
  Hall of Justice - 1st Floor
  211 W. Temple Street
  Los Angeles, CA 90012
  (213) 229-1685 Office
  (323) 415-2934 Fax
  "Do What Is Right and Just, No Matter What the Personal Cost"
  Colonel Donald G. Cook, USMC (ret), Medal of Honor Recipient
  CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential
  and/or legally privileged information. It is solely for the use of the intended recipient(s).
  Unauthorized interception, review, use or disclosure is prohibited and may violate applicable
  laws including the Electronic Communications Privacy Act. If you are not the intended recipient,
  please contact the sender and destroy all copies of the communication.
  Sent via iPhone
  From: Valdez, Jorge A.<javaldez@lasd.org>
  Sent: Wednesday, February 26, 2020 7:04:59 PM
  To: Murakami, Timothy K.<TKMuraka@lasd.org>; Satterfield, John L <JLSatter@lasd.org>
  Subject: Fwd: LA Times follow up re Lost Hills

  FYI.
  Get Outlook for iOS
  From: Tchekmedyian, Alene <Alene .Tchekmedyian@latimes.com>
  Sent: Wednesday, February 26, 2020 6:59:46 PM
  To: Valdez, Jorge A.<javaldez@lasd.org>
  Cc: Villanueva, Alex <avillan@lasd.org>
  Subject: Re: LA Times follow up re Lost Hills

  Capt. Valdez,
  Did you also inform the families that these photos were taken and shared? Did you tell the
  families that you took action?
  This story focuses on detailed information from multiple, highly credible sources that Sheriff's
  Department employees took photos of the crash scene and shared them with people both
  inside and outside the department, including at least one civilian at a bar. We know that this
  information reached the department's headquarters.
  We'd like very much to include in the story your account of how the department leadership
  acted on the information. Please know, however, that your lack of participation in the story will
  neither prevent nor delay publication, which is imminent.




                                                      EXHIBIT A
                                                        -10-                                      COLA007318
Case 2:20-cv-09582-JFW-E Document 79-2 Filed 05/24/21 Page 3 of 4 Page ID #:1545



  This is indeed a sensitive matter. In our view, that is all the more reason for the department to
  be transparent and forthright in addressing it.


  Alene Tchekmedyian
  Reporter
  Los Angeles Times
  o: (213) 237-3138
  c: (714) 928-9311

  From: Valdez, Jorge A.<javaldez@lasd.org>
  Sent: Wednesday, February 26, 2020 5:40 PM
  To: Tchekmedyian, Alene <Alene.Tchekmedyian@latimes.com>
  Subject: RE: LA Times follow up re Lost Hills

  EXTERNAL SOURCE
  Ms. Tchekmedyian,

  Out of respect for the families of the crash victims, we will not be commenting at this
  time. Based on the insensitive intention to release this alleged information, we were
  obligated to personally contact the family members and advise them of the details
  surrounding your allegations.

  Respectfully,

  Captain Jorge Valdez


  From: Tchekmedyian, Alene [mailto:Alene.Tchekmedyian@latimes.com]
  Sent: Wednesday, February 26, 2020 11:54 AM
  To: Valdez, Jorge A.<javaldez@lasd.org>; Villanueva, Alex <avillan@lasd.org>
  Subject: LA Times follow up re Lost Hills

  Capt. Valdez, following up on our conversation at today's presser.

  I'm getting close to publishing a story about a report to the Sheriff's Department that a
  deputy trainee showed graphic photos of Kobe Bryant's helicopter crash site to a
  bartender in Norwalk.

  It's my information that a handful of Lost Hills deputies were then identified as having
  photos and/or videos from the scene . I'm told they were ordered, in a directive that
  came down from Sheriff Villanueva, to delete this evidence from their phones, but that
  no investigation was opened and no one faced discipline.

  When I asked Sheriff Villanueva about these deputies being ordered to delete photos,
  he said that this was a practice to make sure that there's "no evidence other than the
  official photos of evidence that are taken for criminal purposes."




                                             EXHIBIT A
                                               -11-                                                   COLA007319
Case 2:20-cv-09582-JFW-E Document 79-2 Filed 05/24/21 Page 4 of 4 Page ID #:1546




  I'm checking back regarding your statement that you are unaware of any complaint and
  that there was no order given to delete any photographs. Can you confirm that this is
  the department's official response?

  Please explain why your statement is at odds with what Sheriff Villanueva said. Thank
  you,

  Alene Tchekmedyian


  Alene Tchekmedyian
  Reporter
  Los Angeles Times
  o: (213) 237-3138
  c: (714) 928-9311




                                       EXHIBIT A
                                         -12-                                             COLA007320
